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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                           No. 16-154V
                                    Filed: September 9, 2016
                                         UNPUBLISHED
*********************************
CHRISTINA GARBER,                                 *
                                                  *
                         Petitioner,              *
                v.                                *
                                                  *        Attorneys’ Fees and Costs;
SECRETARY OF HEALTH                               *        Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                               *
                                                  *
                         Respondent.              *
                                                  *
****************************
Maximillian Muller, Muller Brazil, LLP, Dresher, PA, for petitioner.
Justine Walters, U.S. Department of Justice, Washington, DC, for respondent.

                      DECISION ON ATTORNEYS’ FEES AND COSTS1

Dorsey, Chief Special Master:

       On February 1, 2016, Christina Garber (“petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq.,2 (the “Vaccine Act” or “Program”). Petitioner alleged that she
“received a Tetanus, diphtheria, and pertussis (“Tdap”) vaccine on February 19, 2015
and thereafter suffered from a shoulder injury, which was caused in fact by the above-
stated vaccination.” Petition at 1. On July 6, 2016, the undersigned issued a decision
awarding compensation to petitioner based on respondent’s proffer to which petitioner
agreed. (ECF No. 21).




1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       On August 16, 2016, petitioner filed a motion for attorneys’ fees and costs. (ECF
No. 25). Petitioner requests attorneys’ fees in the amount of $14,369.00 and attorneys’
costs in the amount of $1,540.42 for a total amount of $15,909.42. Id. at ¶ 4. In
accordance with General Order #9, petitioner’s counsel represents that petitioner
incurred no out-of-pocket expenses. Id.

        On August 25, 2016, respondent filed a response to petitioner’s motion. (ECF
No. 26). Respondent argues that “[n]either the Vaccine Act nor Vaccine Rule 13
contemplates any role for respondent in the resolution of a request by a petitioner for an
award of attorneys’ fees and costs.” Id. at 1. Respondent adds, however, that she “is
satisfied the statutory requirements for an award of attorneys’ fees and costs are met in
this case.” Id. at 2 (citations omitted). Additionally, she “asserts that a reasonable
amount for fees and costs in the present case would fall between $12,000.00 to
$14,000.00” but provides no basis or explanation for how she arrived at this proposed
range. Id. at 3.

         On September 2, 2016, petitioner filed a reply. (ECF No. 28). Petitioner
emphasizes that respondent “fails to specify any deficiencies, unreasonable items, or
billing issues.” Id. at 4. Petitioner includes a list of the attorneys’ fees and costs
awarded petitioner’s counsel since 2014. Id. at 3-4. Petitioner requests an additional
$275.00 in attorneys’ fees, reflecting one hour of work, required “to review respondent’s
response, perform research, and draft the instant reply.” Id. at 4-5.

      The undersigned has reviewed the billing records submitted with petitioner’s
request. In the undersigned’s experience, the request appears reasonable, and the
undersigned finds no cause to reduce the requested hours or rates.

      The Vaccine Act permits an award of reasonable attorneys’ fees and costs.
§ 15(e). Based on the reasonableness of petitioner’s request, the undersigned
GRANTS petitioner’s motion for attorneys’ fees and costs.

      Accordingly, the undersigned awards $14,644.00 in attorneys’ fees and
$1,540.42 in attorneys’ costs for a total award of $16,184.423 as a lump sum in the
form of a check jointly payable to petitioner and petitioner’s counsel Maximillian
Muller.




3This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).

                                                    2
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        The clerk of the court shall enter judgment in accordance herewith.4

IT IS SO ORDERED.

                                                           s/Nora Beth Dorsey
                                                           Nora Beth Dorsey
                                                           Chief Special Master




4 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.
                                                      3
